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                      EXHIBIT 3244
             Plaintiffs’ Motion In Limine for the Court to Deem Authentic Certain
            Photographs and Videos Depicting Defendant Robert “Azzmador” Ray
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         VIDEO EXHIBIT – FILED WITH COURT

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